      Case 2:11-cv-00084 Document 1463 Filed on 12/04/23 in TXSD Page 1 of 7




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION

M.D., b/n/f Sarah R. Stukenberg, et al.,          §
                                                  §
         Plaintiffs,                              §
v.                                                §
                                                  §                    Civil Action No. 2:11-CV-00084
GREG ABBOTT, in his official capacity as          §
Governor of the State of Texas, et al.,           §
                                                  §
         Defendants.                              §

                            PLAINTIFFS’ EXHIBIT LIST FOR
                        DECEMBER 4, 2023 SHOW CAUSE HEARING

Ex.       DATE                         Description                       Off.   Obj.    Adm.    Not
No.                                                                                            Adm.
 1      4/21/2023      Dkt 1350 - Letter from M. Lowry regarding
                       Psychotropic Medication Utilization Request
                       for PMC Class
 2      5/15/2023      Email of Ora Chisom to Monitors re Request
                       Joint Mtg w DFPS-HHSC for Heightened
                       Monitoring Discussion w attachments
 3      6/5/2023       Email from Ora Chisom to Monitors re HM
                       policy (Dkt. 1384 Court Ex 5)
 4      9/19/2023      Dkt. 1412 Update to K. Ryan Report to the
                       Court
 5      11/10/2023     Dkt 1442 Monitors' Supp Update to Court re
                       RO 3, 7 and 8 and HHSC Provider Info
 6      6/1/2023       PI Directive- Efficient Investigative
                       Procedures and Documentation Practices in
                       All Settings
 7      10/23/2023     HHSC Provider Investigations Handbook
 8      undated        TXDFPS - 24-Hour Residential Child Care
                       Requirements - Residential Contracts (RCC)
 9      3/15/2023      TXDFPS Addenda to the 24-Hour Residential
                       Child Care Requirements
 10     6/2019         TXHHS - Psychotropic Medication
                       Utilization Parameters for Children and Youth
                       in Texas Behavioral Health (6th Version)
 11     9/2019         Superior Healthplan - Psychotropic Mediation
                       Utilization Review (PMUR) Process for
                       STAR Health Members - FAQ and
                       Stakeholder Manual
     Case 2:11-cv-00084 Document 1463 Filed on 12/04/23 in TXSD Page 2 of 7




Ex.      DATE                      Description                     Off.   Obj.   Adm.    Not
No.                                                                                     Adm.
12     10/2023      TXHHS - Minimum Standards for General
                    Residential Operations - Child Care
                    Regulation
13     10/2023      TX HHSC - Minimum Standards for Child
                    Placing Agencies - Child Care Regulations
14     undated      TXDFPS - Comparison of Minimum
                    Standards, Residential Contract
                    Requirements, and Service Level Indicators
15     11/20/2018   Dkt 606 Order
16     12/17/2019   Dkt 772 Order Regarding Workload Studies
                    in November 20, 2018 Order
17     3/18/2020    Dkt 837 Order - Definitions Applicable to RO
                    20
18     6/16/2020    Dkt 869 First Court Monitors' Report 2020
19     5/4/2021     Dkt 1079 Second Report of the Monitors
20     5/4/2021     Dkt 1080 2021-05-04 Appendices to
                    Monitor's Second Report – RCCI Intake
                    Reports
21     1/10/2022    Dkt 1165 Third Report of Monitors
22     6/2/2022     Dkt 1247 Third Update to the Court re The
                    Refuge for DMST
23     6/2/2022     Dkt 1248 Fourth Report of the Monitors
24     1/20/2023    Dkt 1318 Fifth Report of Monitors
25     3/27/2023    Dkt 1337 Update to the Court Regarding Site
                    Visits Conducted between December 1, 2021
                    and December 31, 2022, and the Reopening of
                    The Refuge for DMST
26     6/25/2023    Dkt 1380 Monitors Sixth Report
27     6/27/2023    Dkt 1384 Exhibit list and exhibits from
                    hearing on 6-27-2023
28     6/27/2023    Transcript from 6-27-2023 status conference
                    (amended)
29     1/10/2022    Dkt 1171 Monitors' Report Regarding Safety
                    of Settings Housing Children Without
                    Placement and Site Visits
30     9/13/2021    Dkt 1132 Monitors' Update to Court
                    Regarding Children Without a Placement
                    House in CPS Offices, Hotels and Other
                    Unlicensed Settings
31     1/24/2023    Dkt 1319 Monitor’ Update to the Court
                    Regarding Children Without Placement
32     6/23/2023    Dkt 1379 Update to the Court Regarding RO
                    35 Caseload Performance
33     10/25/2023   Dkt 1425 Monitors’ Update to the Court
                    Regarding PMC Children Without a Licensed
                    Placement


                                                2
     Case 2:11-cv-00084 Document 1463 Filed on 12/04/23 in TXSD Page 3 of 7




Ex.      DATE                       Description                     Off.   Obj.   Adm.    Not
No.                                                                                      Adm.
34     10/27/2023   Dkt 1426 Monitors’ Update to the Court
                    Regarding RO 35 Caseload Performance
35     7/17/2023    Dkt 1393 Defs Obj. to Monitors’ Sixth Report
36     11/15/2023   Dkt 1443 Defs Obj. to Monitors’ Update to
                    the Court Regarding PMC Children Without a
                    Licensed Placement
37     9/2/2023     Dkt 1407 Monitors Resp to State's Obj to June
                    2023 Reports
38     1/17/2022    Dkt 1175 Transcript of Hearing on January
                    11, 2022
39     4/12/2023    Transcript from hearing on April 12, 2023
                    (amended)
40     5/1/2023     Dkt 1352 Exhibit list and Court Exhibits from
                    hearing on 5-1-2023
41     5/1/2023     Transcript from 5-1-2023 status conference
                    (amended)
42     5/4/2023     Dkt 1356 Hearing Transcript of 5/1/2023
                    Hearing
43     6/1/2010     TXHHS – Home and Community -Based
                    Services (HCS)
44     10/2020      TXDFPS - Child Protective Services
                    Handbook, Section 4133
45     10/2017      TXDFPS - Child Protective Services
                    Handbook, Section 11327
46     4/2023       TXDFPS - Placement Summary (Form 2279)
47     6/2023       Application for Placement (Common
                    Application) (Form 2087)
48     9/2023       Certification of Receipt of Child Sexual
                    Abuse or Sexual aggression Information
                    (Form 2279b)
49     8/2023       TXDFPS - CPS Rights of Children and Youth
                    in Foster Care (Form 2530)
50     2021         TXDFPS - 2021 Annual Progress & Services
                    Report - Targeted Plan - Health Care
                    Oversight and Coordination Plan
51     2022         TXDFPS - 2022 Annual Progress & Services
                    Report - Targeted Plan B - Health Care
                    Oversight and Coordination Plan
52     2023         TXDFPS - 2023 Annual Progress & Services
                    Report - Targeted Plan B - Health Care
                    Oversight and Coordination Plan
53     undated      26 Tex. Admin. Code §748.1119
54     undated      26 Tex. Admin. Code §748.2705
55     undated      26 Texas Admin Code §711.19
56     undated      37 Tex. Admin. Code §343.804




                                                3
     Case 2:11-cv-00084 Document 1463 Filed on 12/04/23 in TXSD Page 4 of 7




Ex.      DATE                       Description                     Off.   Obj.   Adm.    Not
No.                                                                                      Adm.
57     3/29/2022    DFPS Vendor Contract, Premier Protection
                    and Investigations, LP, DBA PPI Security
58     2/9/2022     DFPS Vendor Contract, Silver Shield Security
                    Inc.
59     undated      TCOLE History, Texas Commission on Law
                    Enforcement
60     2/28/2023    Basic Peace Officer Proficiency Certification
                    Chart dated 2.28.2023
61     2/28/2023    Intermediate Peace Officer Proficiency
                    Certification Chart dated 02.28.2023
62     2/28/2023    Advanced Peace Officer Proficiency
                    Certification Chart dated 02.28.2023
63     12/2017      De-escalation Techniques Course
64     2015         AACAP - Recommendations about the Use of
                    Psychotropic Medications for Children and
                    Adolescents Involved in Child-Serving
                    Systems
65     2/1/2007     Letter from Dr. David Lakey, Commissioner
                    with TX Department of State Health Services
                    regarding revision to Psychotropic
                    Medication Utilization Parameters for Foster
                    Children with same attached
66     4/11/2012    ACF - Information Memorandum re
                    Psychotropic Medication
67     11/20/2013   Psychotropic Medication for Children in
                    Texas Foster Care Presentation
68     9/7/2018     TXDFPS - Contractor Noncompliance and
                    Contract Remedies
69     4/2020       TXDFPS - Medical Services Resource Guide
70     8/9/2021     TXDFPS - Client Services SMP
71     10/4/2021    TXDFPS - Contract Monitoring
72     9/26/2022    TXDFPS - Review Reason: Risk-Based,
                    Enhanced, Complaint, Follow-up
73     9/5/2023     TXDFPS - Management of Contract Records
                    and Personal Identifiable Information
74     9/5/2023     TXDFPS - Risk Assessment Instrument
                    (RAIs)
75     undated      TXDFPS - Residential Contract Managers
76     4/2023       TXDFPS - Sexual Incident History Resource
                    Guide
77     10/2023      TXDFPS - Statewide Intake Policy &
                    Procedures §4760
78                  Not used
79     undated      TXDFPS Preponderance of Evidence - a
                    guide to writing the most appropriate



                                                4
     Case 2:11-cv-00084 Document 1463 Filed on 12/04/23 in TXSD Page 5 of 7




Ex.      DATE                       Description                     Off.   Obj.   Adm.    Not
No.                                                                                      Adm.
                    preponderance of evidence statements -
                    Participant Manual
80     9/21/2021    Dkt 1137 Governor Greg Abbott's Advisory
                    Concerning the Court's September 14, 2021
                    Inquiries
81     12/14/2022   Email from Katy Gallagher (HHSC) to Megan
                    Annitto re Provider Investigations Questions
82     11/22/2022   TXHHS Oversight of the HHSC Home and
                    Community-Based Services (HCS) Program -
                    OIG Report No. AUD-23-002
83                  Not used
84     6/22/2023    Attachment to Ora Chisom 6/22/2023 email
                    Defendants' Comments on the June 17, 2023
                    Drafts of Monitor's Report
85     undated      HHSC Regulations § 711.1 - What is the
                    Purpose of this Chapter
86     undated      Heightened Monitoring (HM) Considerations
                    for Operations that Meet HM Eligibility
                    Following Successful HM Release
87     5/25/2023    Excerpt of Dkt 1380, page 63
88     6/25/2023    Excerpt from Dkt 1380, page 159
89     10/25/2023   Excerpt from Dkt 1425, pages 3, 4, 6, 8 and 9
90     10/5/2023    Dr. Christopher Bellonci Curriculum Vitae
91     undated      TXHHS - What is HCS
92     undated      TXDPS document regarding children without
                    placement and child watch schedules
93     11/3/2023    Dkt. 1429. Defs Response to Third MOTION
                    for Order to Show Cause as to Why
                    Defendants Should Not be Held in Contempt
94     10/2021      TSDFPS Statewide Intake Policy &
                    Procedures
95     undated      TXDFPS Region 08 Caseload Tracker
                    Regional Plan
96     undated      40 Tex. Admin. Code §707.469
97     9/22/2023    Letter from Jennifer Sims, Deputy
                    Commissioner of TXDFPS to Judges Jones,
                    Hallford, and Mabray with update
98     10/24/2023   TXHHS - PMC/TMC Requirements -
                    Provider Investigations
99     11/21/2023   TXDFPS - Children Without Placement
                    Agency Efforts
100    9/25/2023    Email from N. Hoover to Dr. Van Ramshorst
                    re Foster Care 4+ Meds PMUR Request




                                                 5
  Case 2:11-cv-00084 Document 1463 Filed on 12/04/23 in TXSD Page 6 of 7




Ex.     DATE                       Description                      Off.   Obj.   Adm.    Not
No.                                                                                      Adm.
101   11/16/2023   Email from N. Hoover to Dr. Van Ramshorst
                   re Request for Status Update -Plaintiffs'
                   Attorneys PMUR Request
102   11/28/2023   Defendants' Response to Plaintiff's
                   Interrogatories for Third Amended Motion to
                   Show Cause per Court Order (Dkt. 1439)
103   1/2014       Child Care Licensing - Performance
                   Management Unit - Report to Residential
                   Child Care Management - Residential Care -
                   Physical Abuse Investigations - Focus:
                   Unable to Determine Dispositions
104   10/3/2023    Subpoena to Appear and Testify at a Hearing
                   or Trial in a Civil Action to Trish Evans
105   5/12/2021    Permanency Conference Plan - Jacqueline
                   Juarez
106   undated      TX HHS Provider Investigations
107   undated      CPS Time Sheets - excel spreadsheets -
                   D_050706 - D_050723
108   5/29/2023    Joint Commissioner Briefing - Psychotropic
                   Medication Utilization Review in Star Health
109   undated      Child Watch Demonstrative Exhibit
110   11/28/2023   Dkt 1447 Monitor's Supplemental Response
                   to the State's Objections to the Sixth Report
                   and Responses to the State's Objections to the
                   Updates to the Court Regarding Remedial
                   Order 3, PMC Children Without a License
                   Placement, and Remedial Order 35
111   12/3/2023    Dkt 1461, Monitors' Responses to the State's
                   Objections to the Monitors' Supplemental
                   Update to the Court Regarding Remedial
                   Orders 3, 7 and 8 and HHSC Provider
                   Investigations
112   12/3/2023    Dkt 1462 Update to the Court on the
                   Prevalence of PMC Children Without
                   Placement and Out of State Facility
                   Placement
113   1/10/2022    Dkt 1166, Recommendations for Improving
                   Texas' Safe Placement and Services for
                   Children, Youth and Families
114   Undated      TXDFPS Child Without Placement
                   Supervision and Overtime Policy




                                                6
    Case 2:11-cv-00084 Document 1463 Filed on 12/04/23 in TXSD Page 7 of 7




 Dated: December 4, 2023                           Respectfully submitted,

                                                   /s/ R. Paul Yetter
 Samantha Bartosz (pro hac vice)                   R. Paul Yetter
 Stephen Dixon (pro hac vice)                      State Bar No. 22154200
 CHILDREN’S RIGHTS                                 Christian J. Ward
 88 Pine Street                                    State Bar No. 24033434
 New York, New York 10005                          Karla Rosali Maradiaga
 (212) 683-2210                                    Texas State Bar No. 24126746
 sbartosz@childrensrights.org                      YETTER COLEMAN LLP
                                                   811 Main Street, Suite 4100
 Marcia Robinson Lowry (pro hac vice)              Houston, Texas 77002
 A BETTER CHILDHOOD, INC.                          (713) 632-8000
 355 Lexington Avenue, Floor 16                    pyetter@yettercoleman.com
 New York NY 10017
 (646)795-4456                                     Barry F. McNeil
 mlowry@ABetterChildhood.org                       State Bar No. 13829500
                                                   HAYNES AND BOONE, LLP
                                                   2323 Victory Ave., Suite 700
                                                   Dallas, Texas 75219
                                                   (214) 651-5000
                                                   barry.mcneil@haynesboone.com

            ATTORNEYS FOR PLAINTIFFS AND THE GENERAL CLASS AND SUBCLASSES


                                   CERTIFICATE OF SERVICE

       I certify that on the 4th day of December, 2023, a true and correct copy of this document
was served on all counsel of record via email or by using the Court’s CM/ECF e-file system.

                                                            /s/ R. Paul Yetter
                                                            R. Paul Yetter




                                               7
